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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                            CASE No. 1:20-CV-11889-MLW

Dr. SHIVA AYYADURAI                     )
            Plaintiff,                  )
                                        )
                 v.                     )
                                        )
WILLIAM FRANCIS GALVIN,                 )
MICHELLE K. TASSINARI,                  )
DEBRA O’MALLEY,                         )            JURY DEMANDED
AMY COHEN,                              )
NATIONAL ASSOCIATION OF )
STATE ELECTION DIRECTORS, )
all in their individual capacities, and )
WILLIAM FRANCIS GALVIN,                 )
in his official capacity as Secretary )
of State for Massachusetts,             )
                 Defendants.            )

                             AMENDED VERIFIED COMPLAINT

                    CONCISE STATEMENT OF CLAIM PER FRCP RULE 8

        Defendants have already admitted under oath that they coordinated an effort to strongly

encourage Twitter to delete tweets that specifically referenced emails from Defendant Galvin’s

Office, and aimed to get Twitter to suspend Dr. Shiva repeatedly such that he was unable to send

out any tweets during the last month of his campaign run. Those emails, which revealed that

ballot images from election machines have all been deleted, substantiated Dr. Shiva’s claim that

Federal law had been violated by Defendant Galvin. Defendants acted in concert with the

common purpose of abusing their official influence to suppress Dr. Shiva’s political speech.

Defendants violated Dr. Shiva’s First Amendment right under the color of law, thus giving rise

to this § 1983 claim. Defendant Galvin is sued in both official and individual capacities because

of the need to invoke the Ex parte Young exception. Ex parte Young, 209 U.S. 123 (1908)



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                                           PARTIES

       Plaintiff Dr. Shiva Ayyadurai (“Dr. Shiva”) lives and works in this District. He holds

four (4) degrees from the Massachusetts Institute of Technology including his PhD in Biological

Engineering, where he collaborated on research with Professor Noam Chomsky, a noted linguist;

and with Professor Robert Langer, a world-renowned engineer. Dr. Shiva founded and runs

multiple technology companies in Cambridge, MA at 701 Concord Avenue, and has now

campaigned for Federal office three times, including presently for U.S. Senate. He started his

account on Twitter in August 2011 and since then has worked assiduously to grow his presence.

His Verified Twitter account is followed by a quarter of a million people, giving him significant

presence on the nation’s social media landscape.

       Defendant William Galvin is a career politician, presently the Secretary of State for the

Commonwealth of Massachusetts, and the person responsible for ensuring that Federal law is

complied with during the conduct of elections for Federal office. He resides at 46 Lake Street,

Brighton, MA 02135

       Defendant Michelle Tassinari is Defendant Galvin’s legal counsel and Elections

Director of the Massachusetts Elections Division and the person required to ensure Galvin’s

office complies with Federal law. Tassinari is also the President-elect of Defendant National

Association of State Election Directors, and a member on the Standards Board of the U.S.

Election Assistance Commission (www.eac.gov). Tassinari resides at 5A Lee St, Wilmington,

MA 01887.

       Defendant Debra O’Malley is Defendant Galvin’s spokesperson and also handles the

Election Division’s official Verified Twitter account (@VotinginMass).

       Defendant Amy Cohen is the Executive Director for Defendant NASED.



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         Defendant National Association of State Election Directors (“NASED”) is a 501(c)(3)

professional organization headquartered at 1200 G Street NW, Suite 800, Washington, DC

20005. Its members are the Elections Directors in the fifty (50) states. In 2018, Democracy

Works, which is funded by certain known foundations, took over the management of NASED.

NASED does not make prominent that it is an entity “within” Democracy Works, Inc. The

screenshot below from Democracy Works’ web page provides a partial list of their funders.




         Amy Cohen went from Pew to Democracy Works to NASED. Democracy Works Inc.’s

2018 Form 990 declares that NASED operates “within” Democracy Works, Inc. Screenshot

below:




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                                             VENUE

       Venue is proper because the Defendants violated Dr. Shiva’s rights in this district. In

addition, Dr. Shiva lives and works in this District as do three of the Defendants.


                                         JURISDICTION

       This court has jurisdiction over this case because the complaint involves violation of a

right guaranteed by the United States Constitution by persons under the color of law, as well as


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racketeering to obstruct justice and conspiracy. 28 U.S.C. § 1331, 28 U.S.C. § 1343, 42 U.S.C.

§ 1983, 18 U.S.C. § 1961(3), 18 U.S.C. § 1962(c), 18 U.S.C. § 1962(d) and 42 U.S.C. § 1985.

In addition, there is diversity between the parties: two of the Defendants, Cohen and NASED,

are based in different Districts. This court has jurisdiction under Ex parte Young, 209 U.S. 123

(1908) over Secretary Galvin in his official capacity as the relief sought is prospective and

injunctive.

                                           LIABILITY

       Pursuant to the Court’s ruling in Kentucky v. Graham, 473 U.S. 159, 165 (1985), Galvin,

O’Malley and Tassinari may be sued in their individual capacities for monetary damages caused

by their intentional torts, which in this case include violation of Dr. Shiva’s First Amendment

rights under color of law through abuse of their official positions. An ipso facto immunity

defense is impermissible.

       Sworn testimony elicited from the Defendants during an emergency hearing for a

Temporary Restraining Order implicated Defendants Cohen and NASED in the intentional

violation of Dr. Shiva’s First Amendment rights.

       The U.S. District Court for Massachusetts has already ruled that Dr. Shiva has met the

threshold of likelihood of being able to prevail on his claim that Twitter’s action was State action

and due solely to the actions of these Defendants. See Blum v. Yaretski, 547 U.S. 991 (1982). On

October 30, 2020, Judge Mark L. Wolf thus ordered (#20) that Galvin, his agents, employees,

and other persons in active concert with any of them shall not report or complain to Twitter

concerning Dr. Shiva’s tweets and that Galvin shall ask NASED to not report or complain to

Twitter as well. Defendants Galvin agreed to this while on notice that Dr. Shiva intended to seek

monetary damages.



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                     THIS AMENDED COMPLAINT IS APPROPRIATE

       Defendant Galvin, who had been sued in the original complaint solely in his official

capacity, averred that service had not been perfected by the time of the emergency hearing on

Dr. Shiva’s motion for a Temporary Restraining Order. Galvin’s attorney, Adam Hornstine,

filed an appearance in order to oppose the motion as Defendant Galvin had full and substantive

notice of the accusation and issues regarding the motion and complaint. Galvin’s opposition also

presented affirmative defenses against claims in the complaint that were not related to the

motion for a TRO. Dr. Shiva’s previous counsel has thus far been either unable or unwilling to

produce proof of service such as a Certified Mail receipt. Dr. Shiva represented himself pro se

at the emergency hearing and committed to serving the complaint upon the Defendants. As the

Defendants in this action were not served the original complaint in a manner compliant with

Rule 4, and no Answer was filed, Dr. Shiva files this amended complaint as a matter of right.

     GALVIN MAY BE SUED IN BOTH INDIVIDUAL AND OFFICIAL CAPACITIES

       Each of a person’s different legal capacities constitutes a separate ‘party.’

       “Under well-established rules of res judicata, recognized in Maine, an action
       brought against an individual in one capacity does not bar a later action brought against
       the same individual in a different capacity. See also Restatement (Second) of Judgments
       § 36; 1B Moore's Federal Practice ¶ 0.411[3] (2d ed. 1982). We therefore hold that res
       judicata does not bar the present action as against the individual Defendants but does bar
       it against the city.” Roy v. City of Augusta, Maine, 712 F. 2d 1517 (1st Circuit 1983).

       Also Kentucky v. Graham, 473 U.S. 159, 165-66 (1985), Unimex, Inc. v. United States
       Dep't of Hous. & Urban Dev., 594 F.2d 1060, 1061 n. 3 (5th Cir. 1979), Headley v.
       Bacon, 828 F.2d 1272, 1279-80 (8th Cir. 1987), Andrews v. Daw, 201 F.3d 521 (4th Cir.
       2000), Leftridge v. Matthews, 1:11-cv-03499-ELH (Dist. MD. 2012), Favors v. Cuomo,
       11-cv-5632 (E.D.N.Y. Oct. 29, 2013)(“each of a person’s different legal capacities
       constitutes a separate ‘party’”), McCarthy v. Wood, 219 Mass. 566 (1914), Duffee v.
       Boston Elev. Rlwy, 191 Mass 563 (1906), Sturbridge v. Franklin, 160 Mass. 149 (1893),
       Anderson v. Phoenix, 387 Mass. 444 (1982), Campbell v. Ashler, 320 Mass. 475 (1946)

       Galvin is thus sued in his individual capacity, for monetary damages, and in his official

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capacity, in order to avail of the Ex parte Young exception and obtain prospective injunctive

relief in the form of a permanent injunction that bars him, as Secretary of State, from abusing his

office again to suppress constitutionally-protected political speech, whether it concerns speech

from Dr. Shiva or any other candidate for political office. This court must enforce the writ of the

United States Constitution upon a recalcitrant Commonwealth of Massachusetts that even claims

the Secretary’s decision to delete ballot images supersedes Federal law regarding the

preservation of records generated during Federal elections.

                                       ORAL HEARINGS

       Dr. Shiva respectfully requests oral hearings prior to resolution of any substantive

motion, such as a motion by Defendants to delay filing a pleading or a motion to dismiss.


                                     FACTS OF THIS CASE

       Dr. Shiva was born in India in 1963 into India’s oppressive caste system as a low-caste

untouchable. The oppressive conditions and the corrupt system of socialist governance in India

motivated his parents to immigrate to the United States in 1970 to seek greater liberty and

respect for individual rights, including the U.S. Constitution’s iron-clad protection for freedom

of speech, as well as opportunities for themselves and their children.

       Dr. Shiva earned four (4) degrees from the Massachusetts Institute of Technology: a

bachelor’s in Electrical Engineering and Computer Science, masters degrees in both Mechanical

Engineering and Visual Studies, as well as a doctoral degree in Biological Engineering.

       Dr. Shiva is a Fulbright Scholar, a Westinghouse Honors Award recipient, a member of

multiple research and engineering academic honor societies including Eta Kappa Nu, Sigma Xi,

and Tau Beta Pi, a Lemelson-MIT Awards Finalist, and was nominated for the National Medal

of Technology and Innovation bestowed by the President of the United States.

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       As an educator, Dr. Shiva has developed new curricula and taught at both undergraduate

and graduate levels at MIT and has presented invited lectures at leading academic institutions

across the world.

       In addition Dr. Shiva is responsible for seven (7) start-up technology companies and

presently runs a biotechnology company, CytoSolve; an educational institute, Systems Health;

an artificial intelligence company, EchoMail; and, a not-for-profit research center, International

Center for Integrative Systems. Justia’s list of Dr. Shiva’s patents is at

https://patents.justia.com/inventor/v-a-shiva-ayyadurai

       In August of 2011, Dr. Shiva opened his Twitter account, @va_shiva, to build an

independent base and reach local, national and global audiences to support his activism in

various scientific, social and governance causes. This Twitter account also served as his primary

platform to communicate with potential voters during his runs for political office. It is vital for

this court to note that as a private citizen, this Twitter account represents the speech of a private

individual even during a run for political office.

       Between August 2011 and August 2020, Dr. Shiva had grown his Twitter audience from

zero to a quarter of a million people who regularly heard what he had to say on diverse topics

important to him, and interacted with him online.

       In February 2017, Dr. Shiva first ran for Federal office for the U.S. Senate as an

Independent candidate, challenging incumbent Senator Elizabeth Warren, and conducted a

dynamic campaign both on the ground across cities and towns in Massachusetts, and on Twitter

with the slogan “Only A REAL Indian Can Defeat A FAKE Indian!” That election took place in

November 2018. There were no troubles regarding his Twitter account throughout 2017-2018

campaign, though “election misinformation” was a prominent topic in the daily news. The City



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of Cambridge, however did retaliate against Dr. Shiva, by using a disparate reading of zoning

law, to demand Dr. Shiva remove the large banner on his campaign bus with slogan exposing

Elizabeth Warren’s lack of integrity. Dr. Shiva filed a lawsuit Ayyadurai v. Cambridge, 1:18-

CV-10772-RWZ, and prevailed in defending his First Amendment rights.

        In January 2019, Dr. Shiva began his run for U.S. Senate against incumbent Senator

Edward Markey as a Republican candidate. For this, he participated in a primary election within

the Republican Party, and met the challenge with a ground organization of approximately 3,100

volunteers, distributed approximately 10,000 lawn signs, received donations from about 20,000

people that funded billboards at prominent spots on highways, advertisements on social media,

radio and television, and made “Dr. Shiva” a recognized household name across all 351 cities

and towns in Massachusetts. In addition, Dr. Shiva personally crisscrossed the state and held

rallies to reach a diversity of demographics. It is vital to note that his campaign always met or

exceeded all regulatory requirements set by the Elections Division at the Office of the Secretary

of State.

        In February 2020, one year after Dr. Shiva began his campaign, Kevin O’Connor, in his

first run for political office, entered the Republican primary race. O’Connor was however

endorsed by Massachusetts Governor Charles Baker, who held fundraisers for him.

        On September 1, 2020, the Massachusetts Republican primary for U.S. Senate was held.

Dr. Shiva’s internal polls had shown him leading in all counties. The announced results showed

he had won in Franklin County by nearly ten-percent (10%) over his opponent, but had lost in all

other counties by a consistent ratio of approximately 60% to 40%, to an opponent with little

visibility, only a handful of volunteers, and no real campaign organization. His opponent, who

was endorsed and supported by Charlie Baker and the Massachusetts GOP, had won.



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       Dr. Shiva investigated and discovered that Franklin County was the only county where

approximately seventy-percent (70%) of the towns counted the paper ballots by hand. The rest of

the counties primarily used electronic systems that generated ballot images, which were then

analyzed by a computer program to tabulate vote counts.

       Dr. Shiva’s campaign filed Public Records Requests to the various counties, under MGL

ch. 66, for (a) the list of participating voters – those who actually voted in the election, and (b)

the counts of the actual numbers of votes cast. Seven (7) of the fourteen towns/cities provided

the records. In all seven (7) towns/cities, the number of tabulated votes was larger than the

number of participating voters. Boston had approximately 4,100 more votes than participating

voters; and, Newton had approximately 1,700 more votes than participating voters. Accessing

and analyzing the ballot images – which are in the chain of custody of tabulating votes –

therefore became critical to understanding the root cause of the discrepancy between Franklin

County and the other counties.

       On September 9, Dr. Shiva personally went to Secretary Galvin’s office to deliver a

Public Records Request to the Secretary, under MGL ch. 66, to determine whether or not the

Secretary of State stored all ballot images, as it is these digital records generated in the course of

a federal election, that are used to tabulate votes when ballots are electronically processed. It is

important to note that in all counties, other than Franklin County, the majority of paper ballots

were simply collected and stored. In those counties, which primarily use electronic systems for

tabulating votes, the ballot images are the ballots, since the ballot images are the objects upon

which tabulation takes place. The electronic systems employ various computer algorithms

during the tabulation process, including Weighted Race techniques, which affords the capability

to multiply a candidate’s vote counts by a decimal factor. For example, if candidate A received



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1,000 votes and candidate B received 1,000, the Weighted Race technique can multiply

candidate A’s votes by a factor such as 2.5 and candidate B’s by a factor of 0.8 to result in final

tabulated vote counts for candidate A of 2,500 votes and candidate B of 800 votes, respectively.

       Pursuant to Federal law, Galvin is required to securely store or retain for twenty-two (22)

months any and all records generated in connection with an election for a Federal office, such as

U.S. Senate. U.S. Code provides:

       CHAPTER 207 - FEDERAL ELECTION RECORDS
       52 USC 20701: Retention and preservation of records and papers by officers of elections;
       deposit with custodian; penalty for violation

       Every officer of election shall retain and preserve, for a period of twenty-two months
       from the date of any general, special, or primary election of which candidates for the
       office of President, Vice President, presidential elector, Member of the Senate, Member
       of the House of Representatives, or Resident Commissioner from the Commonwealth of
       Puerto Rico are voted for, all records and papers which come into his possession relating
       to any application, registration, payment of poll tax, or other act requisite to voting in
       such election, except that, when required by law, such records and papers may be
       delivered to another officer of election and except that, if a State or the Commonwealth
       of Puerto Rico designates a custodian to retain and preserve these records and papers at a
       specified place, then such records and papers may be deposited with such custodian, and
       the duty to retain and preserve any record or paper so deposited shall devolve upon such
       custodian. Any officer of election or custodian who willfully fails to comply with this
       section shall be fined not more than $1,000 or imprisoned not more than one year, or
       both. ( Pub. L. 86–449, title III, §301, May 6, 1960, 74 Stat. 88 .)

       52 U.S.C. § 20702 - Theft, destruction, concealment, mutilation, or alteration of records
       or papers; penalties
       Any person, whether or not an officer of election or custodian, who willfully steals,
       destroys, conceals, mutilates, or alters any record or paper required by section 20701 of
       this title to be retained and preserved shall be fined not more than $1,000 or imprisoned
       not more than one year, or both.

       On that same day - September 9, 2020 - William Rosenberry, an Elections Division

official in Defendant Secretary Galvin’s office, was publicly documented on video at the

Secretary’s office declaring to Dr. Shiva that the Secretary possessed “no ballot images” as the

Secretary’s office “turned that feature off” so as to not save the ballot images, which were



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generated by the ballot scanners. It should be noted that the default – factory setting – on the

electronic machines is to save all ballot images so as to be compliant with Federal law.

Rosenberry informed Dr. Shiva that he would send him an email documenting Secretary

Galvin’s position on the matter.

       On Monday, September 21, 2020, Dr. Shiva returned in person back to Secretary

Galvin’s office to follow up on the Public Record Request. Dr. Shiva came with storage devices

to collect the ballot images. He also documented, in writing, Rosenberry’s earlier statement of

the deletion of ballot images and further requested, in writing, what information the Secretary’s

office would be delivering him. Defendant Tassinari was also present at this meeting, and

Tassinari informed Dr. Shiva in the presence of Rosenberry that the Secretary’s office did not

have to respond for ten (10) business days, and told Dr. Shiva that she would respond by the end

of the day on Wednesday, September 23, 2020 by email.

       On September 24, 2020, at approximately 9:00AM, Dr. Shiva contacted the Secretary’s

office via telephone and asked where the response to his Public Records request was as it was

due on September 23, 2020. Rosenberry was recalcitrant and after Dr. Shiva informed him that

he was in violation of Federal law for not delivering him his records within the ten (10) business

days, Rosenberry responded and said, “No, I’m in violation of State law.” At the end of the

conversation, Rosenberry assured Dr. Shiva that he would deliver it by 5:00PM that day. Dr.

Shiva documented this phone conversation in the email below, in which he specifically

memorialized Rosenberry’s admission to having violated Massachusetts State Law:



September 24, 2020

William Rosenberry
Elections Division




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RE: Second Follow Up on Public Records Request

Dear William:

On my Monday, September 21, 2020, at approximately 4:45PM, my colleagues and I followed up with
your office, in person, concerning my records request made on September 9, 2020. I provided you
written communication of my office visit and request at that time. You and your attorney - all of which is
documented - assured me that I would receive a formal written response to my September 9th
records request, via email to vashiva@vashiva.com, which would have been yesterday, September 23,
2020.

You and your attorney, at the time of the Monday meeting, stated that the response was to be sent in "10
business days, not 10 calendar days" therefore, you and your attorney said you were obligated and
required to send the response on September 23, 2020, not September 21st, by Massachusetts State
Law.

Yesterday, September 23, 2020, I did not receive the response to my records request via email, as you
and your attorney had promised and reassured me September 21, 2020. In fact, I do not have the
response as of the time of the writing of this email.

This morning, September 24, 2020 at 9:32 AM, I called your office to reach you, as a follow up to see if
you had responded to my records request, and if so, to the right address. Upon trying to reach you, I was
put on hold by your assistant "Logan," and was told that you told Logan I should put anything else I
wanted in writing. I told Logan that this made no sense, and I knew you were on site, and I wanted to
speak to you.

Finally, I was transferred to you, and upon speaking with you, you said that I would receive the response
to my records request "no later than 5PM today [September 24, 2020]." You acknowledged that you had
violated Massachusetts State Law by not delivering the response yesterday.


Dr. Shiva Ayyadurai
U.S. Senate Candidate



        Within less than thirty (30) minutes of Dr. Shiva’s transmitting the above email to

Rosenberry that documented Rosenberry’s violation of State Law, Tassinari responded to Dr.

Shiva’s request:



        On Thu, Sep 24, 2020 at 10:47 AM Tassinari, Michelle (SEC)
        <michelle.tassinari@state.ma.us> wrote:

        Good Morning-

        I am writing to acknowledge receipt of your request for records. Please  note, that this
Office does not maintain voter tabulation software, firmware or hardware. While this office
certifies voting equipment, as required by law, we do not purchase or lease equipment. Once




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      equipment is approved by this Office, cities and towns can purchase or lease such
equipment. Accordingly, this Office has no records responsive to your request.

       Further, to the extent you request the same information from local election officials,
please note that the approval of digital scan equipment in Massachusetts specifically prohibits
the capturing of ballot images.

       Michelle K. Tassinari
       Director and Legal Counsel
       Elections Division
       One Ashburton Place, Room 1705
       Boston, MA 02108
       617-727-2828
       ----------------------------




       Tassinari’s last sentence, coming as it did from the Secretary’s own legal counsel and

Director of the Election Division, struck Dr. Shiva as beyond bizarre given the supremacy of

Federal law. It was remarkable and required clarification. Therefore, Dr. Shiva emailed back:



       From: Shiva Ayyadurai <vashiva@vashiva.com>

       Sent: Thursday, September 24, 2020 11:22 AM

       To: Tassinari, Michelle (SEC) <Michelle.Tassinari@sec.state.ma.us>

       Subject: Re: Records Request

        CAUTION: This email originated from a sender outside of the Commonwealth of Massachusetts
mail system. Do not click on links or open attachments unless you recognize the sender and know the
content is safe.

       Michelle,

      Kindly refer me to the statute or law, in which the "...approval of digital scan
equipment in Massachusetts specifically prohibits the capturing of ballot images."

       Thank you in advance.


       Warmest regards,

       Dr. Shiva Ayyadurai



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         US Senate Candidate.

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         In response to Dr. Shiva’s email requesting the specific Massachusetts law or regulation

that apparently authorizes the Secretary to prohibit “capturing of ballot images” in

Massachusetts, Tassinari did not cite any law in her September 25, 2020 email response:



         On Sep 25, 2020, at 11:45 AM, Tassinari, Michelle (SEC)
         <michelle.tassinari@state.ma.us> wrote:

         Shiva-

       Attached please find the certification of two different types of digital scan         equipment in
Massachusetts.

         Please note that while the ballot images are not stored, the actual ballots voted on at any federal election
         are secured and stored for 22 months in accordance with federal law. However, under state law, those
         ballots must remain sealed until such time as they can be destroyed.

         Michelle K. Tassinari

         Director and Legal Counsel

         Elections Division

         -------------------------------------



         That email from Tassinari generated the following email response from Dr. Shiva:



         From: Shiva Ayyadurai <vashiva@vashiva.com>

       Date: September 25, 2020 at 10:33:09 PM EDT
       To: "Tassinari, Michelle (SEC)" <michelle.tassinari@state.ma.us>
       Cc: John R Brakey <johnbrakey@gmail.com>, Venu Julapalli          <vrjula@protonmail.com>,
Ralph Lopez <ralphlopez2008@gmail.com>,           benniejsmith@gmail.com, Jude Joffe-Block <JJoffe-
Block@ap.org>
       Subject: Destroying Ballots is Illegal. The Ballot Images ARE the Ballots. You   DESTROYED
Them. Period.



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        Subject: Destroying Ballots is Illegal. The Ballot Images ARE the Ballots.             You
        DESTROYED The Ballots. Period.

      Michelle
      First, you have NOT answered my question, from my previous email. I repeat               it below.
PLEASE answer the question.

        Kindly refer me to the statute or law, in which the "...approval of digital scan equipment in
        Massachusetts specifically prohibits the capturing of ballot images."

        Second, neither the people of Massachusetts nor I are stupid. I presume you         must be under
incredible pressure from Bill Galvin and Charlie Baker to deflect this issue to hope it disappears.

          However, the fact is the State has illegally destroyed ballots. The electronic        equipment
used to tally and count the vote MUST first CREATE an image - the             ballot image - in order for the
vote to be processed and COUNTED by the              machine. When that image is created, that image
becomes THE BALLOT, as it          is THE entity used to count the vote. If no image was created, no vote
count could exist. You are required by Federal Law to store,preserve, archive those             ballots for 22
months. If those ballot images DO NOT exist, they were               DESTROYED. This            destruction is
illegal, and therefore, the election is null and     void.

        Once again, please answer my question, above.

        Warmest regards,

        Dr.SHIVA Ayyadurai
        US Senate Candidate
        -------------------------------




        Tassinari never replied to this email and did not cite the statute or law that allowed

Massachusetts to destroy the ballot images that were generated in connection with a Federal

election. In addition, Tassinari consciously omitted this fourth email from her affidavit (#15-2)

filed in court, a decision that can be construed only as aiming to conceal evidence from this

court, given that the fourth email had been posted on Twitter and was one of the four (4) tweets

specifically deleted by Twitter on behalf of the Defendants.

        The ballot scanning machines scan the paper ballots and generate a ballot image, which

is then used to tabulate the votes in a Federal election, while the paper ballot is merely physically

retained. It is fundamental statutory interpretation that the ballot image is a record and that,

pursuant to 52 USC 20701, Secretary Galvin is required to store all records and papers which are



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generated in connection with Federal election. Owasso Independent School Dist. No. I-011 v.

Falvo, 534 U.S. 426 (2002), Kasten v. Saint-Gobain Performance Plastics Corp., 563 U.S. 1

(2011), Dolan v. Postal Service, 546 U.S. 481 (2006), People v. Aleynikov, 2018 NY Slip Op

03174 [31 NY3d 383]

       It is important to note that when the Weighted Race feature is enabled, the number of

votes tabulated will likely not match the number of ballot images. Therefore, access to ballot

images, in the chain of custody, is essential in verifying the integrity of an election.

       It is an undeniable fact that the electronic systems for counting votes do generate the

ballot images. That is how they work. Tassinari is incorrect in her use of the term “capturing”

when it comes to these generated images. The images are created, and if they are not captured,

that is merely a euphemism for destroyed. If she meant that the records are “not stored” after

they are generated, which is what Defendant O’Malley also stated, that is a written admission of

a Federal violation. And that indeed is exactly what Tassinari meant: “the ballot images are

not stored[.]”

       Tassinari’s email conversation with Dr. Shiva intended to downplay the critical

importance of ballot images in the tabulation process of votes, and to create a false impression of

the preeminence of paper ballots. Elections officials across the country are aware of lawsuits

filed by election integrity activists, such as John Robert Brakey (YouTube video:

https://www.youtube.com/watch?v=PESVW--fpOI ), seeking transparency in the handling of

ballot images by State Elections Directors. The only possible conclusion is that Tassinari, a

practicing attorney, chose the word capture to mislead and misdirect Dr. Shiva and give the false

impression that in Massachusetts ballot images never exist, at all, at any time. This is supported

by the effort expended by both Tassinari and O’Malley to falsely claim, including in press



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statements, that the paper ballots are saved and so Federal law has been satisfied, as if paper

ballots are used to tabulate the vote when electronic machines are used. Repeat, the votes, when

electronically handled, are tabulated exclusively using the ballot images.

       On September 24, 2020, Dr. Shiva posted on Twitter that Massachusetts destroys ballot

images. This is 100% factually correct as the scanners generate the image records and the

Secretary’s Election Division ensures that these records are destroyed – “not stored.” Also, thus

far the Secretary has been unable to cite any legal authority to support the Secretary’s

“requirement” that ballot scanners certified for use in Massachusetts must delete all the ballot

images after they are used to tabulate the vote. Dr. Shiva also posted that in seven (7)

Massachusetts cities/towns there were more votes counted than are participating voters, and

appended the Twitter hashtag #ElectionFraud to his tweets. This tweet went viral and generated

much commentary.




       Twitter did not delete this tweet.




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       O’Malley, as the official spokesperson for Galvin, Tassinari and the Elections Division,

released statements to the Associated Press, Reuters and Leadstories.com that this tweet

constituted “Election Misinformation” and that no (paper) ballot was destroyed in violation of

Federal law.

       Dr. Shiva continued to tweet on this point:




       The Associated Press, Reuters and Leadstories.com ran “FACT CHECK” stories, which

uniformly claimed that because Dr. Shiva had been contradicted by a government official,

O’Malley, naturally Dr. Shiva’s claim was FALSE. In fact, Dr. Shiva’s attorney sent a letter to



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Leadstories.com conveying the facts about ballot images, and asked them to correct their fake

“FACT CHECK.” They never corrected their “FACT CHECK,” rather accepting the word of

government official O’Malley as the ultimate “fact.”

       These “FACT CHECK” stories were circulated worldwide and appear as the top result

on search engine pages whenever one searches for Dr. Shiva. One sees these “FACT CHECK”

articles, before one reads Dr. Shiva’s position as shown in the screenshot below. This

exemplifies the result of “free press” partnering with the government to “combat” “election

misinformation.”




       On September 25, 2020, Dr. Shiva followed his ‘Massachusetts destroyed ballots’ tweet

with a thread of four (4) tweets that revealed, via screenshots, the email conversation with

Tassinari that has been pasted above, which was written confirmation from the Secretary’s own

office that records generated during a Federal election – the ballot images - the very records used

for tabulation - were destroyed – “not stored.” Below is the threaded-tweet comprised offour

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(4) tweets and the associated four (4) screenshots of the Tassinari email conversation that Dr.

Shiva posted:

                             Threaded-Tweet – First of 4 Tweets




                           Threaded-Tweet – Second of 4 Tweets




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               Threaded-Tweet – Third of 4 Tweets




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                           Threaded-Tweet – Fourth of 4 Tweets




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       Tassinari and O’Malley testified under oath at the October 30, 2020 emergency hearing

that they had received one or two emails and one or two phone calls from the public about these

tweets, which then prompted them to go on Twitter and read the tweets themselves, and

Tassinari became upset because it was “Election Misinformation.” Tassinari testified, she then

decided that the tweet should be reported by O’Malley to Twitter for sanctions because this

tweet would cause voter suppression. See Exhibit 1 - Transcript of TRO Hearing




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       O’Malley testified she is the point person in Galvin’s office who manages the Election

Division’s official Verified Twitter account.




       O’Malley testified that she reported the one tweet from September 24 in the complaint

that she filed with Twitter via Twitter’s online form and identified the complainant as the official

Verified Twitter account of the Massachusetts Elections Division.




O’Malley also revealed that Cohen-NASED had reported more of Dr. Shiva’s tweets, and

mentioned that she also reported the tweet to National Association of Secretaries of State

(NASS). Discovery shall reveal the role played by NASS in conjunction with the Defendants in

the silencing of Dr. Shiva’s political speech.




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       During direct testimony at the emergency hearing, Tassinari revealed that she, the

President-Elect at NASED, contacted Cohen at NASED to also report Dr. Shiva’s tweet.




       Assistant Attorney General Adam Hornstine repeatedly asserted to Judge Mark Wolf that

the Defendant had not complained to Twitter about the threaded tweets that displayed four (4)

screenshots of the Tassinari emails that were the ones that Twitter repeatedly forced Dr. Shiva to

delete. He did not reveal that this task had been outsourced to Cohen and NASED in order to

maintain plausible deniability.

       In response to questioning by Judge Mark Wolf, Tassinari testified that she had been

personally upset by Dr. Shiva posting the screenshots of her emails on Twitter and him declaring



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that because Massachusetts destroyed the ballot images used to tabulate votes, it constituted

election fraud. Tassinari also revealed under questioning that she is the President-Elect of

NASED, that she coordinated with Cohen at NASED to amplify pressure on Twitter to punish

Dr. Shiva for his tweets about her emails, and hoped his account would get suspended such that

he could not tweet at all during his election campaign for the official reason of “Election

Misinformation,” and that Cohen had telephoned her back to inform her that Cohen had done so.

None of this was in Tassinari’s affidavit (#15-2).




       The tweet that Tassinari was “relieved” to see removed was the September 25th threaded

tweet containing the four screenshots of Tassinari’s email conversation with Dr. Shiva, which

exposed that Secretary Galvin was violating Federal law by destroying ballot images, even

though Tassinari gave the court the impression that it was about the one election fraud tweet

cited in her affidavit. To reiterate, Twitter never removed Dr. Shiva’s September 24th tweet that

Tassinari initially claimed had been removed.




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        On October 30, 2020, during the emergency hearing for a TRO, O’Malley testified that

Massachusetts’ Elections Division is a “Twitter Partner,” meaning a respected, trusted partner in

the fight against “Election Misinformation,” as is NASED and every state’s Elections Division.

O’Malley testified that NASED had arranged for Twitter to provide a response to complaints

from these “Twitter Partners” as a matter of priority and without necessarily independently

checking the veracity of their complaints, as they come from a State office that is a “Twitter

Partner.” One may visualize the difference between ordinary users - private citizens - and

“Twitter Partners” as the difference between a credit union debit card and Amex Black. A

complaint to Twitter from Elections Directors carries with it the full force of the government and

receives high priority processing and response. None of these facts may be found in O’Malley’s

affidavit to this court (#15-1).




        This sworn testimony directly contradicted Galvin’s assertions to Judge Mark Wolf via

AAG Adam Hornstine that a complaint to Twitter from Galvin’s Office is just the same as and

no different at all from a complaint from any ordinary civilian, even though he knew that the




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Elections Division is a Twitter Partner and has access to complaint types that are not visible to

ordinary users on Twitter.

       While eliciting testimony from Dr. Shiva, Galvin’s attorney, AAG Adam Hornstine, took

pains to emphasize the point that Dr. Shiva could have been forced by Twitter to delete the

Tassinari email tweets due to a report from just about anybody with a Twitter account. This was

proven false, given the special relationship afforded to the Defendants, as was revealed during

the testimony of Tassinari and O’Malley.

       On September 26, 2020, in direct response to concerted, coordinated action by the

Secretary of State, the state election director, the state Twitter liaison and spokesperson via the

official Elections Division Verified Twitter account, and the National Association of State

Election Directors, Twitter immediately forced Dr. Shiva to delete the thread of four tweets that

revealed the Tassinari emails. Though he agreed to delete the thread with the four emails,

Twitter suspended his Twitter account for a week, blocking him from speaking to his quarter-

million followers and any potential voters during his Write-In election campaign.

       Dr. Shiva continued to physically run his campaign. At the end of the week his access to

Twitter was restored. Dr. Shiva posted tweets about the rallies he had held, his objections to

election fraud and the destruction of ballot images. Those tweets remain public. When Dr. Shiva

then again posted any tweets referencing Tassinari’s emails exposing the Defendants violation of

Federal law, immediately Twitter again forced him to delete those specific tweets and again

suspended him for another week. This was during the last month of campaigning before Election

Day, where as a Write-In candidate, Dr. Shiva needed as much public exposure as he could get.

       Dr. Shiva was disappeared from Twitter for nearly all of the final month of campaigning!




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       During their sworn testimony at the October 30, 2020, emergency hearing, and in their

affidavits, O’Malley and Tassinari took pains to claim that they complained about Dr. Shiva

because his tweets constituted “Election Misinformation” and that they were relieved and

pleased that Twitter deleted the tweet that they had reported. Neither Defendant chose to reveal

in their affidavit that they asked Cohen and NASED to make Twitter delete the tweets about the

Tassinari emails and that they were relieved and pleased that Twitter did so.

       Dr. Shiva then testified that the tweet the Defendants testified to have reported and then

verified as having been deleted is still public, and that Twitter had not forced him to delete it, but

did force him, every single time, to delete tweets that referenced the Tassinari emails that

documented violation of Federal law by Defendants.




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       After Dr. Shiva’s testimony, Judge Wolf questioned Tassinari about her earlier testimony

that she had checked Twitter and was happy that the reported tweet had been deleted. Tassinari

claimed now that she may have been mistaken.

       It is vital to note that Galvin, O’Malley and Tassinari had claimed under oath that they

were duty-bound to protect the reputation and integrity of the election process in Massachusetts

and prevent suppression of the people’s vote, when they identified Dr. Shiva’s election fraud

tweet as “Election Misinformation” and merely reported the tweet to Twitter just as would any

other user.

       Assistant Attorney General Adam Hornstine from AG Maura Healey’s Government

Bureau even declared that Twitter deleted the tweets and suspended Dr. Shiva because he could

have violated Twitter’s Terms of Use and other internal policies and that the suspension could

easily have been because of complaints from any ordinary random user.

       After the emergency hearing revealed the special position held by “Twitter Partners” and

the coordinated nature of the attack on Dr. Shiva’s political speech, and the undeniable fact that




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the Tassinari emails were the sole focus of the deletions, the Defendants immediately claimed

the opposite of what they swore to in their opposition, affidavits and initial testimony.

       Their brand new narrative, minted during the emergency hearing, and akin to Big Brother

increasing chocolate rations, now involved claiming that because Twitter had not deleted the

tweet that they had classified as “Election Misinformation,” the same tweet they had just sworn

had been well-deservedly deleted to keep the country safe, the Defendants were not responsible

for the suspension caused each time by Dr. Shiva posting the Tassinari email tweets, that Twitter

had not even responded to their complaint and that for some reason unknown to the Defendants,

Twitter by itself found only the Tassinari email tweets objectionable.

       By the time discovery is complete, the Defendants’ narrative may totally flip yet again.

       It is impossible to overstate the fact that until the Defendants’ coordinated attack, Twitter

did not and still has not forced Dr. Shiva to delete many tweets on diverse topics that could be

considered controversial or contrarian, the pandemic, BLM, face mask mandates, genetically

modified foods, mandatory vaccinations etc. - 30,000 tweets over nine years. Here is a sample

of such recent tweets:




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       In addition, during the period from September 1, 2020 to September 25, 2020, Dr. Shiva

posted a series of tweets specifically on election fraud in Massachusetts, and on destruction of

ballots. Twitter neither did ban Dr. Shiva’s access to his Twitter account for such tweets nor did

Twitter force Dr. Shiva to remove these tweets:




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       To reiterate, Dr. Shiva was not forced to remove even one of the above tweets

concerning election fraud. The only possible conclusion is that Twitter by itself did not find that

Dr. Shiva’s tweets constituted “Election Misinformation” or violative of any internal policy or

Terms of Use.

       When Dr. Shiva posted the four (4) screenshots of the Tassinari email conversation in

one threaded-tweet, which cited violation of Federal law, Twitter forced Dr. Shiva to delete that

tweet, and began banning him repeatedly for most of the time left before election day. Here are

the screenshots of Twitter forcing the deletion of Tassinari threaded-tweet:




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       It beggars belief to think that Twitter independently found only the Tassinari email

tweets to constitute “Election Misinformation” to such a dangerous degree that it warranted

blocking a political candidate’s speech during his run for Federal office as a Write-In candidate

and prevent him all access to his account and quarter million followers for half of the time left

before Election Day, and that Tassinari herself had nothing to do with it.

       It is crucial for this court to note that the Defendants realized that the Tassinari emails

exposed them to prosecution for violation of Federal law, as well as civil action by Dr. Shiva

over the loss of his primary election to Kevin O’Connor. They acted swiftly and powerfully to

conceal this evidence, to suppress Dr. Shiva’s political speech entirely, and actively distributed

through the “free press” their consciously false narrative that ballot images are not records

covered by the storage requirements of Federal law and that Dr. Shiva’s claim is false.

       Their coordinated action, the enterprise, was intended to obstruct justice.

       It is also a legal fact that the Defendants were prohibited by the Massachusetts Supreme

Judicial Court from acting officially in any way against Dr. Shiva during his political campaign

based on any claim that his speech was false. The SJC ruled that per the First Amendment,

which guarantees special protection for political speech, the Commonwealth could not

criminalize or in any way retaliate against a Massachusetts candidate for the content of his

political speech during an election campaign. Commonwealth v. Melissa Lucas, 472 Mass. 387

(2015). It was already known to the Defendants that their action against Dr. Shiva’s tweet, even

under the convenient pretext of shutting down false speech, was specifically outlawed. Even if

ordinary civilians report such speech to Twitter, these government officials were explicitly

prohibited from using their privileged priority status and networks to shut down a candidate’s

political speech.



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       So, both the pretext and the ulterior motive were already known to be unlawful. The

Defendants put their enterprise into action anyway, in order to obstruct justice and try to keep

concealed the official admission that Galvin violated Federal law.

       Even though the Defendants are fully aware of the SJC’s prohibition, Galvin claimed to

Judge Wolf that he should not be restrained from shutting down Dr. Shiva’s political speech as

taking steps to silence a candidate during his campaign was permissible “Government Speech.”

       “As the elected state official charged with ensuring free and fair elections in the
       Commonwealth, Secretary Galvin exercised his free speech rights and spoke on behalf of
       the government to ensure that the public had access to accurate information. The
       Secretary reported Plaintiff’s misinformation to Twitter,just as any person could have
       done. Allegedly as a result, Twitter – not the Secretary –temporarily suspended
       Plaintiff’s ability to post new information to his Twitter account. Plaintiff now contends
       that the Secretary should be unable to report false election claims to Twitter in the future.
       The Court should not entertain this request but should instead deny Plaintiff’s effort to
       restrain future government speech.”
       Galvin’s opposition to the motion for a TRO in this case (#15)

       The fact remains that it is the Constitution, and the SJC, not the Plaintiff, that contends

that the Secretary should be unable to report false election claims to Twitter. Galvin’s

protestation is breathtaking here in the United States, though it may be normal in foreign

countries without protection for political speech.

       On October 20, 2020, Dr. Shiva had a private attorney file a complaint and a motion for a

Temporary Restraining Order to stop Galvin from continuing to cause Twitter to silence his

political speech during the few days left before Election Day. Despite being a licensed member

of the Massachusetts Bar, the attorney filed for monetary damages in Federal court against a

state official sued in his official capacity, which, as all lawyers are required to know, has been

barred for a hundred years by the Eleventh Amendment. However, this allowed an emergency

hearing to be held under the Ex parte Young exception as the TRO motion sought prospective




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injunctive relief, namely restraint on Galvin again silencing Dr. Shiva’s political speech on

Twitter between then and Election Day.

       On October 30, 2020, Judge Mark Wolf held a four-hour long emergency hearing via

Zoom with the participation of Dr. Shiva, Galvin via counsel Adam Hornstine from the AGO,

O’Malley and Tassinari. AAG Adam Hornstine opposed the TRO hearing on 11th Amendment

Immunity grounds. This action, knowing that Dr. Shiva was in his first ever hearing pro se, was

egregious and Judge Mark Wolf placed that in the record.




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        Because the motion and facts within the complaint, in conjunction with fresh facts

elicited during the hearing from O’Malley and Tassinari, were sufficient to show that Dr. Shiva

satisfied the Blum standard and was likely to prevail on his claim that Twitter’s action was

indeed state action, Judge Wolf declared that there was enough justification for issuance of the

TRO. However, Judge Wolf informed Galvin that if Galvin agreed on his own to not complain

again to Twitter about Dr. Shiva’s tweets between then and November 4th, 2020, and requested

NASED to also desist, then Judge Wolf would accept such an Agreement and declare the motion

to be moot.

        Galvin agreed and an Order (#20) issued. This amended complaint follows.


     THIS COMPLAINT MEETS THE BLUM STANDARD TO SHOW STATE ACTION

        For four years now all social media companies have been under tremendous pressure to

act against “election disinformation.” This pressure has been unrelenting and from all sides:

Congress, state politicians, DOJ, the press and public opinion. It never let up after the previous

2016 elections. In October 2020, Massachusetts U.S. Senator Edward Markey demanded in the

Senate that FaceBook and other social media companies actively shut down voices that he

deemed to be peddling ‘election misinformation.’

 https://www.boston.com/news/politics/2020/10/28/mark-zuckerberg-ed-markey-facebook-
respond-donald-trump-election-posts

        Twitter, a publicly traded corporation, is not immune from these strong pressures. And

here it received a strong complaint from the Secretary that claimed Dr. Shiva’s tweets were

“Election Misinformation,” a strong complaint that was further amplified by the Election

Directors of all fifty (50) states in the Republic.

        The fact of a coordinated complaint by “Twitter Partners” was confirmed during the

emergency hearing.

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        In the current climate one can imagine fewer dog whistles more potent than “Election

Misinformation.” It was inevitable and entirely predictable that Twitter would not ignore an

official complaint from the Massachusetts Secretary of State and related “Twitter Partners” that

claimed Dr. Shiva’s Twitter feed spread “Election Misinformation.” The last thing any public

corporation needs is a press statement from the Commonwealth of Massachusetts that it is aiding

and abetting “Election Misinformation.” And Twitter would have been left to hang by itself

given that the “FACT CHECK” by large media sources such as Reuters and the AP simply

peddle whatever government officials’ position is and appear at the top of searches on both

Google and Bing. Given the checkered history of shareholder lawsuits, no public company can

tolerate that risk.

        The evidence included within the four corners of this complaint is overwhelming that

Twitter acted to delete specifically the Tassinari email tweets and silence Dr. Shiva’s political

speech during his run for Federal office solely and exclusively because of the Defendants’

coordinated complaint to Twitter. Twitter got mobbed, by State actors. It was documentary

evidence of violation of Federal law in those emails that was the motive for Galvin’s action. For

Galvin to deny all responsibility for this sequence of events is consciously dishonest. He knew

full well that as the Elections Officer for Massachusetts his complaint would carry enormous

weight and it did carry enormous weight. Twitter’s response was immediate and specific.

        The key sentence in the Blum ruling is:

        “A State normally can be held responsible for a private decision only when it has
        exercised coercive power or has provided such significant encouragement that the choice
        must in law be deemed to be that of the State.” Blum v. Yaretsky, 457 U.S. 991 (1982)
        The evidence is overwhelming that the “Twitter Partners” and State Officials - Galvin,

Tassinari and O’Malley - in concert with Cohen and NASED, provided such significant



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encouragement that the choice must in law be deemed that of the State. At the emergency

hearing, Judge Wolf ruled that Dr. Shiva is likely to prevail on his claim that Galvin was

responsible for Twitter deleting only the Tassinari email tweets and silencing Dr. Shiva’s

political speech in the midst of his campaign:




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       Galvin’s Cat’s Paw defense that it wasn’t him and that Twitter acted all by itself, has

already failed. Discovery, including sworn depositions from Cohen, can only produce more

evidence in support of Dr. Shiva’s claim.


   THIS COMPLAINT MEETS THE TWOMBLY / IQBAL PLAUSIBILITY STANDARD

       This complaint pleads chronological facts included within the four corners and contains

no conclusory statements whatsoever. It also follows the emergence of additional facts during a

hearing for a TRO. Thus this complaint exceeds the plausibility standard required by the Court

to survive a motion to dismiss under Rule 12. Bell Atlantic v. Twombly, 550 U.S. 544 (2007),

Ashcroft v. Iqbal, 556 U.S. 662 (2009), Rodi v. Southern NESL, 389 F.3d 5 (1st Cir. 2004)

       Furthermore, pro se complaints are to be liberally construed. Estelle et al v. Gamble, 29

U.S. 97 (1976), Haines v. Kerner, 404 U.S. 519 (1972), Alston v. Parker, 363 F.3d 229 (3d Cir.

2004), Vartanian v. Monsanto Co., 14 F.3d 697 (1st Cir. 1994), Hart v. Mazur, 903 F.Supp. 277

(D.R.I. 1995)

       And at this stage the plaintiff’s facts must be construed as true and the court may not

dismiss on the basis of facts not ascertainable within the four corners of the complaint. Galvin,

Tassinari and O’Malley have already been shown to have unclean hands. Hazel-Atlas Glass Co.

v. Hartford-Empire Co., 322 U.S. 238 (1944) Even their sworn affidavits and testimony are

unreliable.

                                    PRAYER FOR RELIEF

                                            COUNT ONE

        MONETARY DAMAGES UNDER 42 U.S.C. § 1983 FOR VIOLATION OF A
             CONSTITUTIONAL RIGHT UNDER THE COLOR OF LAW

       Dr. Shiva incorporates here by reference all the paragraphs above as if set forth herein.



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       Galvin, Tassinari and O’Malley are state actors. Cohen and NASED acted as agents for

state actors. NASED is an association for and of state actors actually in office. NASED is

inextricably linked with state actors and exists for the sole purpose of amplifying the voice of

state actors. Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531 U.S. 288 (2001)

All Defendants are bound by the very same conspiracy and goal: suppress dissemination of

tweets that reveal official emails that confirm violation of Federal law. All Defendants

coordinated their attack on Dr. Shiva’s political speech in conscious, willful, contemptuous

violation of his First Amendment right to the highest protections for his political speech.

       “While some means of communication may be less effective than others at influencing
       the public in different contexts, any effort by the Judiciary to decide which means of
       communications are to be preferred for the particular type of message and speaker would
       raise questions as to the courts’ own lawful authority. Substantial questions would arise if
       courts were to begin saying what means of speech should be preferred or disfavored. And
       in all events, those differentiations might soon prove to be irrelevant or outdated by
       technologies that are in rapid flux. See Turner Broadcasting System, Inc. v. FCC, 512
       U.S. 622, 639 (1994). Courts, too, are bound by the First Amendment. We must decline
       to draw, and then redraw, constitutional lines based on the particular media or technology
       used to disseminate political speech from a particular speaker.” “The Government may
       not render a ban on political speech constitutional by carving out a limited exemption
       through an amorphous regulatory interpretation.” “First Amendment standards, however,
       “must give the benefit of any doubt to protecting rather than stifling speech.” WRTL, 551
       U. S., at 469 (opinion of ROBERTS, C. J.) (citing New York Times Co. v. Sullivan, 376
       U. S. 254, 269–270 (1964)).” “As the foregoing analysis confirms, the Court cannot
       resolve this case on a narrower ground without chilling political speech, speech that is
       central to the meaning and purpose of the First Amendment. See Morse v. Frederick,551
       U. S. 393, 403 (2007).”
       Citizens United v. Federal Election Commission, 558 U.S. 310 (2010)

       Here it is undisputed that the Defendants stifled the Plaintiff political candidate’s

political speech during an election campaign based solely on the content of Plaintiff’s speech,

which exposed an official email that supported his contention that Galvin violated Federal law

when he destroyed records (ballot images) generated in the course of a Federal election, a matter

of great public concern.



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       This was per se unconstitutional. Commonwealth v. Melissa Lucas, 472 Mass. 387

(2015) “It is speech on "matters of public concern'" that is "at the heart of the First

Amendment's protection." First National Bank of Boston v. Bellotti, 435 U. S. 765, 435 U. S.

776 (1978), citing Thornhill v. Alabama, 310 U. S. 88, 310 U. S. 101 (1940)

       The suppression of Dr. Shiva’s political speech, as well as all of his speech on Twitter

for half of the last month prior to Election Day, November 3, 2020, caused massive irreparable

harm to him as he was running for Federal office as a Write-In candidate who needed as much

visibility as he could get, so voters could learn that he was still a candidate whose name they

would have to write in themselves if they chose. Dr. Shiva had built up a following of a quarter

of a million followers on Twitter and via Twitter had a reach that did not require additional

expense, compared to advertising on television. The Defendants willfully made his voice

disappear at a crucial time.

       Galvin and the other Defendants, through their conscious, defiant, contempt for and

violation of bedrock American principles enshrined in the Constitution via the First Amendment,

deliberately caused immense harm to this candidate Plaintiff solely to block the candidate from

raising public awareness of Galvin’s violation of Federal law and the way Galvin counts votes,

which is as content-based as a restriction on speech by a government actor can get.

       "The First Amendment "was fashioned to assure unfettered interchange of ideas for the
       bringing about of political and social changes desired by the people." Roth v. United
       States, 354 U. S. 476, 354 U. S. 484 (1957); New York Times Co. v. Sullivan, 376 U. S.
       254, 376 U. S. 269 (1964). "[S]peech concerning public affairs is more than self-
       expression; it is the essence of self-government." Garrison v. Louisiana, 379 U. S. 64,
       379 U. S. 74-75 (1964). Accordingly, the Court has frequently reaffirmed that speech on
       public issues occupies the "highest rung of the hierarchy of First Amendment values,'"
       and is entitled to special protection. NAACP v. Claiborne Hardware Co., 458 U. S. 886,
       458 U. S. 913 (1982); Carey v. Brown, 447 U. S. 455, 447 U. S. 467 (1980).”
       Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749 (1985)




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        Given their deliberate contempt for both the U.S. Constitution and the right of voters to

have free and fair elections without government interference, it is the height of cynicism and

hypocrisy for the Defendants to portray themselves as the defenders of democracy.

        Judge Wolf’s questioning of Tassinari revealed that the Defendants did not for one

moment have any intention of respecting Dr. Shiva’s right under the First Amendment to the

Constitution, where the sole constitutional response to so-called bad speech is good speech. He

asked Tassinari why she did not simply issue a tweet from the Election Division’s official

Twitter account that debunked Dr. Shiva’s tweet rather than coordinating an effort to delete his

tweet and have him suspended in the midst of his election campaign.

        Tassinari had no explanation for why she and the other Defendants did not do this.

        The reason Tassinari was unable to explain her choice to Judge Wolf is that Tassinari and

the other Defendants did not act in response to bad speech, they acted to conceal official

evidence of the violation of Federal law by Galvin. This fact precludes their action from availing

of the defense of qualified immunity.

        The Court has ruled that suit for monetary damages from state actors for violations of

Constitutional rights, an intentional tort, is permitted if they are sued in their individual

capacities by U.S. Citizens and there is no demand on the public purse. Bivens v. Six Unknown

Named Agents, 403 U.S. 388 (1971), Butz v. Economou, 438 U.S. 478 (1978), Davis v. Passman,

442 U.S. 228 (1979), Ziglar v. Abbasi, 582 U.S. ___ (2017)

        Naturally this also means that Massachusetts Defendants must pay privately for their

defense prospectively and the expense must not be dumped on the taxpayer. “The Legislature, by

excluding intentional torts from the waiver of governmental immunity, sought to insulate the

government from liability for intentional conduct which it had not authorized.” Doe v. Town of



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Blandford, 402 Mass. 831 (1988), MGL ch. 258 § 10(c). While the Defendants chose to violate

Dr. Shiva’s First Amendment rights through abuse of office, and abuse of networks available

only to state officials, such as the cooperation of NASED and “Twitter Partner” status, this abuse

was not authorized by the Commonwealth itself.

       The complaint lays out with particularity all the actions the Defendants took under the

color of law to repeatedly and pointedly violate Dr. Shiva’s right to special protection under the

First Amendment for his political speech and to be free of unlawful retaliation by state actors for

the content of his speech. The Defendants also took conscious steps to conceal their actions from

this court and consciously misrepresented facts in a continuing effort to obstruct justice.

       Galvin obstructed justice, United States v. Dunnigan, 507 U.S. 87 (1993), and committed

a crime which violated his oath and ‘laws applicable to his office or position.’ State Retirement

Board v. Bulger, 446 Mass. 169 (2006), In the Matter of Robert A. Griffith, 440 Mass. 500

(2003) And AAG Adam Hornstine, a lawyer, fully knew that his statements on the record at the

hearing were materially false and “could not have been calculated to assist the Court in the

administration of justice, but only to win an advantage.” Tesco Corp. v. Weatherford Int’l, Inc.,

No. H-08-2531, 2014 WL 4244215 (S.D. Tex. 2014)

       Under established case law, members of a conspiracy are substantively liable for the

foreseeable criminal conduct of the other members of the conspiracy. Pinkerton v. United States,

328 U.S. 640, 66 S.Ct. 1180, 90 L.Ed. 1489 (1946)

       The Defendants have engaged in the malicious, willful, and consciously fraudulent

commission of wrongful acts, and because of the outrageous and reprehensible nature of their

acts, Dr. Shiva is entitled to and must be awarded punitive damages against each of the

Defendants. The Defendants must be held liable for damages to Dr. Shiva with an initial demand



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of $100 million, and a final amount to be determined by a jury at trial. Dr. Shiva also requests

that the court order all costs and fees and pre- and post-judgment interest from the Defendants.


                                            COUNT 2

            CONSPIRACY TO VIOLATE CIVIL RIGHTS - 42 U.S. CODE § 1985

       Dr. Shiva incorporates here by reference all the paragraphs above as if set forth herein.

       The “Ku Klux Klan Act,” enacted as part of the Civil Rights Act of 1871, and now

codified as 42 U.S.C. § 1985, provides Dr. Shiva with a private cause of action to seek monetary

damages from the Defendants for participating in a conspiracy to violate his First and Fourteenth

Amendment rights under the color of law. The Court provided the binding interpretation of this

law in Griffin v. Breckenridge, 403 U.S. 88 (1971). The reach of this Ku Klux Klan Act

encompasses the deprivation of Dr. Shiva’s constitutional rights by all the Massachusetts

Defendants, and also those state actors and agents of state actors, such as NASED and Cohen

who predictably will claim to be wholly private individuals, even though the very existence of

NASED and its actions, via its salaried Executive Director Cohen on behalf of Tassinari,

O’Malley and Galvin, are inextricably linked with state action. Brentwood Acad. v. Tennessee

Secondary Sch. Athletic Ass’n, 531 U.S. 288 (2001) Even when Cohen and NASED claim that

they are private persons, they shall not escape the reach of 42 U.S.C. § 1985. Congress passed

the Ku Klux Klan Act to hold liable precisely persons like them, for monetary damages.

       All of the Defendants are bound by the very same conspiracy and goal: suppress

dissemination of tweets that reveal official emails that confirm violation of Federal law. All

Defendants coordinated their attack on Dr. Shiva’s political speech in conscious, willful,

contemptuous violation of his First Amendment right to the highest protections for his political

speech and his Fourteenth Amendment right to equal protection under the law.


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       “While some means of communication may be less effective than others at influencing
       the public in different contexts, any effort by the Judiciary to decide which means of
       communications are to be preferred for the particular type of message and speaker would
       raise questions as to the courts’ own lawful authority. Substantial questions would arise if
       courts were to begin saying what means of speech should be preferred or disfavored. And
       in all events, those differentiations might soon prove to be irrelevant or outdated by
       technologies that are in rapid flux. See Turner Broadcasting System, Inc. v. FCC, 512
       U.S. 622, 639 (1994). Courts, too, are bound by the First Amendment. We must decline
       to draw, and then redraw, constitutional lines based on the particular media or technology
       used to disseminate political speech from a particular speaker.” “The Government may
       not render a ban on political speech constitutional by carving out a limited exemption
       through an amorphous regulatory interpretation.” “First Amendment standards, however,
       “must give the benefit of any doubt to protecting rather than stifling speech.” WRTL, 551
       U. S., at 469 (opinion of ROBERTS, C. J.) (citing New York Times Co. v. Sullivan, 376
       U. S. 254, 269–270 (1964)).” “As the foregoing analysis confirms, the Court cannot
       resolve this case on a narrower ground without chilling political speech, speech that is
       central to the meaning and purpose of the First Amendment. See Morse v. Frederick,551
       U. S. 393, 403 (2007).”
       Citizens United v. Federal Election Commission, 558 U.S. 310 (2010)

       Here it is undisputed that the Defendants stifled the Plaintiff political candidate’s

political speech during an election campaign based solely on the content of Plaintiff’s speech,

which exposed an official email that supported his contention that Galvin violated Federal law

when he destroyed records (ballot images) generated in the course of a Federal election, a matter

of great public concern. This was per se unconstitutional. Commonwealth v. Melissa Lucas, 472

Mass. 387 (2015)

       “It is speech on "matters of public concern'" that is "at the heart of the First

Amendment's protection." First National Bank of Boston v. Bellotti, 435 U. S. 765, 435 U. S.

776 (1978), citing Thornhill v. Alabama, 310 U. S. 88, 310 U. S. 101 (1940)

       The suppression of Dr. Shiva’s political speech, as well as all of his speech on Twitter

for half of the last month prior to Election Day, November 3, 2020, caused massive irreparable

harm to him as he was running for Federal office as a Write-In candidate who needed as much

visibility as he could get, so voters could learn that he was still a candidate whose name they



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would have to write in themselves if they chose. Dr. Shiva had built up a following of a quarter

of a million followers on Twitter and via Twitter had a reach that did not require additional

expense, compared to advertising on television. The Defendants willfully made his voice

disappear at a crucial time in order to obstruct justice and conceal official evidence.

       Galvin and the other Defendants, through their conscious, defiant, contempt for and

violation of bedrock American principles enshrined in the Constitution via the First Amendment,

deliberately caused immense harm to this candidate Plaintiff solely to block the candidate from

raising public awareness of Galvin’s violation of Federal law and irregularities with the way

Galvin counts votes, which is as content-based as a restriction on speech by a government actor

can get.

       "The First Amendment "was fashioned to assure unfettered interchange of ideas for the
       bringing about of political and social changes desired by the people." Roth v. United
       States, 354 U. S. 476, 354 U. S. 484 (1957); New York Times Co. v. Sullivan, 376 U. S.
       254, 376 U. S. 269 (1964). "[S]peech concerning public affairs is more than self-
       expression; it is the essence of self-government." Garrison v. Louisiana, 379 U. S. 64,
       379 U. S. 74-75 (1964). Accordingly, the Court has frequently reaffirmed that speech on
       public issues occupies the "highest rung of the hierarchy of First Amendment values,'"
       and is entitled to special protection. NAACP v. Claiborne Hardware Co., 458 U. S. 886,
       458 U. S. 913 (1982); Carey v. Brown, 447 U. S. 455, 447 U. S. 467 (1980).”
       Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749 (1985)

       Given their deliberate contempt for both the U.S. Constitution and the right of voters to

have free and fair elections without government interference, it is the height of cynicism and

hypocrisy for the Defendants to portray themselves as the defenders of democracy.

       Judge Wolf’s questioning of Tassinari revealed that the Defendants did not for one

moment have any intention of respecting Dr. Shiva’s right under the First Amendment to the

Constitution, where the sole constitutional response to so-called bad speech is good speech. He

asked Tassinari why she did not simply issue a tweet from the Election Division’s official

Twitter account that debunked Dr. Shiva’s tweet rather than coordinating an effort to delete his

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tweet and have him suspended in the midst of his election campaign. Tassinari had no

explanation for why she and the other Defendants did not do this.

        The reason Tassinari was unable to explain her choice to Judge Wolf is that Tassinari and

the other Defendants did not act in response to bad speech, they acted to conceal official

evidence of the violation of Federal law by Galvin. This fact precludes their action from availing

of the defense of qualified immunity.

        The Court has ruled that suit for monetary damages from state actors for violations of

Constitutional rights, an intentional tort, is permitted if they are sued in their individual

capacities by U.S. Citizens and there is no demand on the public purse. Bivens v. Six Unknown

Named Agents, 403 U.S. 388 (1971), Butz v. Economou, 438 U.S. 478 (1978), Davis v. Passman,

442 U.S. 228 (1979), Ziglar v. Abbasi, 582 U.S. ___ (2017)

        Naturally this also means that Massachusetts Defendants must pay privately for their

defense prospectively and the expense must not be dumped on the taxpayer. “The Legislature, by

excluding intentional torts from the waiver of governmental immunity, sought to insulate the

government from liability for intentional conduct which it had not authorized.” Doe v. Town of

Blandford, 402 Mass. 831 (1988), MGL ch. 258 § 10(c). While the Defendants chose to violate

Dr. Shiva’s First Amendment rights through abuse of office, and abuse of networks available

only to state officials, such as the cooperation of NASED and “Twitter Partner” status, this abuse

was not authorized by the Commonwealth itself.

        The complaint lays out with particularity, with the benefit of revelations from sworn

testimony, all the actions the Defendants took under the color of law to repeatedly and pointedly

violate Dr. Shiva’s right to special protection under the First Amendment for his political speech

and to be free of unlawful retaliation by state actors for the content of his speech. The



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Defendants also took conscious steps to actively conceal their actions from this court and

consciously misrepresented facts under oath in a continuing effort at obstructing justice. Galvin

obstructed justice, United States v. Dunnigan, 507 U.S. 87 (1993), and committed a crime which

violated his oath and ‘laws applicable to his office or position.’ State Retirement Board v.

Bulger, 446 Mass. 169 (2006), In the Matter of Robert A. Griffith, 440 Mass. 500 (2003) And

AAG Adam Hornstine, a lawyer, fully knew that his statements on the record at the hearing were

materially false and “could not have been calculated to assist the Court in the administration of

justice, but only to win an advantage.” Tesco Corp. v. Weatherford Int’l, Inc., No. H-08-2531,

2014 WL 4244215 (S.D. Tex. 2014)

        Under established case law, members of a conspiracy are substantively liable for the

foreseeable criminal conduct of the other members of the conspiracy. Pinkerton v. United States,

328 U.S. 640, 66 S.Ct. 1180, 90 L.Ed. 1489 (1946)

        The Defendants have engaged in the malicious, willful, and consciously fraudulent

commission of wrongful acts, and because of the outrageous and reprehensible nature of their

acts, Dr. Shiva is entitled to and must be awarded punitive damages against each of the

Defendants. The Defendants must be held liable for damages to Dr. Shiva with an initial demand

of $100 million, and a final amount to be determined by a jury at trial. Dr. Shiva also requests

that the court order all costs and fees and pre- and post-judgment interest from the Defendants.


                                                 COUNT 3

                           VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)

        Dr. Shiva re-alleges and incorporates by reference each and every foregoing paragraph of

this complaint as if set forth in full herein.




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       At all relevant times each Defendant as well as Dr. Shiva is a person within the meaning

of 18 U.S.C. §§ 1961(3) and 1962(c). The Defendants and their co-conspirators constitute an

association-in-fact enterprise within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c), referred

to hereinafter as the “enterprise.” Each of the Defendants participated in the operation or

management of the enterprise.

       The Defendants and their co-conspirators (Leadstories.com, Reuters, AP et al) are a

group of persons associated together in fact for the common purpose of carrying out an ongoing

criminal enterprise, the obstruction of justice, as described in the foregoing paragraphs of this

complaint: the Defendants realized that the Tassinari emails exposed them to prosecution for

violation of Federal law, as well as civil action by Dr. Shiva over the loss of his primary election

to Kevin O’Connor. They acted swiftly and powerfully to conceal this evidence, to suppress Dr.

Shiva’s political speech entirely, and actively distributed through the “free press” their false

narrative that ballot images are not covered by the storage requirements of Federal law and that

Dr. Shiva’s claim is false. The Defendants’ false narrative now appears whenever anyone uses a

search engine to read about Dr. Shiva and his claim, and appears more prominently such that

one’s eyes catch the Defendants’ narrative before one gets to read Dr. Shiva’s evidence. This is

intentional.




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       Their coordinated action, the enterprise, was intended to obstruct justice in violation of

18 U.S.C. § 1503. The enterprise has been structured to operate as a unit in order to accomplish

the goals of their scheme. All Defendants are in agreement that they needed to suppress the

Tassinari email tweets, and acted to do so through their enhanced, priority, partner relationship

with Twitter, and to conceal their doing so, and to claim that Twitter acted all on its own to

delete them and suppress Dr. Shiva’s political speech about a matter of great public concern.

       The enterprise also included intentional, conscious factual misrepresentations to this

court under oath, to paraphrase:

       We simply filled out Twitter’s online complaint form just as any ordinary civilian, the

tweet that we reported was a clear case of “Election Misinformation” that threatened the

integrity of the elections and would have suppressed the vote, the tweet that we reported for

“Election Misinformation” was deservedly deleted and we were very pleased when we looked a

few days later and learned that Twitter had indeed responded to our complaint and deleted it, oh

we believed Your Honor that tweet was deleted but we may have been mistaken when we testified

under oath about that just now Your Honor after declaring just that in our sworn affidavits

prepared before this hearing that contain certain verbatim paragraphs in common, oh well as

that tweet was never deleted by Twitter surely we did not harm Dr. Shiva over his political

speech or cause him to be suspended by Twitter during his Write-In political campaign, we have

no idea why Twitter solely and exclusively deleted only those tweets that revealed the Tassinari

emails, it is entirely possible that Twitter deleted the Tassinari tweets and suspended Dr. Shiva

each time he tweeted them as a result of a complaint from any ordinary civilian but it wasn’t us.




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       It is notable that Galvin, O’Malley and Tassinari chose to not present this court, via

affidavit, screenshots or printouts of the text of the complaint submitted by them to Twitter.

Discovery shall clear this up.

       The Defendants conducted or participated, directly or indirectly, in the conduct,

management, or operation of the enterprise’s affairs through a “pattern of racketeering activity”

within the meaning of 18 U.S.C. § 1961(5) and in violation of 18 U.S.C. § 1962(c). First they

identified Dr. Shiva’s dissemination of the Tassinari emails as a threat that could lead to

indictments for violation of Federal election law, then they acted in concert through abuse of

official powers and relationships to conceal the Tassinari emails, then they acted in concert to

ensure Dr. Shiva was slandered and libeled internationally for stating that Massachusetts

destroyed ballots, then they ensured his own voice disappeared entirely - for weeks at a time - in

retaliation for each time he tried to publicly expose the content of the Tassinari emails, and that

Dr. Shiva was hobbled in the midst of his political campaign where he needed as much visibility

and exposure so potential voters would learn that he was a Write-In candidate. In sum, the

Defendants consciously operated a racketeering enterprise whose main goal was the obstruction

of justice and suppression of a credible witness. And the cover story for the enterprise was

‘combating election misinformation’ (we care passionately about voter suppression, you see, it

was our duty to save the country!).

       As a direct and proximate result of the predicate acts of racketeering by the enterprise,

including but not limited to using their “Twitter Partner” status, abusing the huge influence of

the office of the Massachusetts Secretary of State, the amplification provided by NASED, the

communications from Cohen and NASED to Twitter - which the conspirators know are not

easily discoverable public records and which Galvin, O’Malley and Tassinari chose to conceal



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from this court in both their opposition and their affidavits, and other acts in furtherance of their

continuing effort to obstruct justice, yet to be revealed by court-ordered discovery, Dr. Shiva has

been massively and irreparably damaged, and his injury includes but is not limited to being

cheated out of a free and fair election, global loss of reputation and goodwill, and severe

emotional distress due to the real fear that any mention of the Tassinari emails would lead to

swift and severe retribution from the enterprise.

       Given that Dr. Shiva’s family chose to live in the United States and sacrificed greatly to

rebuild their lives in a new country, and fully believed that in this country freedom of speech

would be protected by state officials, Dr. Shiva has been severely shocked that Galvin,

O’Malley, Tassinari, Cohen, and all the Elections Directors that comprise NASED, share the

very same contempt for freedom of speech and the rights of the individual as state officials back

in the Socialist British Commonwealth of India. The Defendants have no red line within

themselves regarding this great nation’s founding and defining principles that they would not

cross. This knowledge has been extremely disheartening and demoralizing.

       Further, these injuries to Dr. Shiva were a direct, proximate, reasonably foreseeable and

intentional result of the violations of 18 U.S.C. § 1962. Dr. Shiva is the ultimate victim of the

Defendants’ unlawful enterprise. Galvin obstructed justice, United States v. Dunnigan, 507 U.S.

87 (1993), and committed a crime which violated his oath and ‘laws applicable to his office or

position.’ State Retirement Board v. Bulger, 446 Mass. 169 (2006), In the Matter of Robert A.

Griffith, 440 Mass. 500 (2003) And AAG Adam Hornstine, a lawyer, fully knew that his

statements on the record at the hearing were materially false and “could not have been calculated

to assist the Court in the administration of justice, but only to win an advantage.” Tesco Corp. v.

Weatherford Int’l, Inc., No. H-08-2531, 2014 WL 4244215 (S.D. Tex. 2014)



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        Under established case law, members of a conspiracy are substantively liable for the

foreseeable criminal conduct of the other members of the conspiracy. Pinkerton v. United States,

328 U.S. 640 (1946) The Defendants must be held liable for damages to Dr. Shiva with an initial

demand of $100 million, and a final amount to be determined by a jury at trial. Dr. Shiva also

requests that the court order all costs and fees and pre- and post-judgment interest from the

Defendants.

        Pursuant to 18 U.S.C. § 1964(c), Dr. Shiva is entitled to recover treble damages plus

costs and attorneys fees from the Defendants.


                                                 COUNT 4

          CONSPIRACY TO VIOLATE RICO, VIOLATION OF 18 U.S.C. § 1962(d)

        Dr. Shiva re-alleges and incorporates by reference each and every foregoing paragraph of

this complaint as if set forth in full herein.

        At all relevant times each RICO Defendant as well as Dr. Shiva is a person within the

meaning of 18 U.S.C. §§ 1961(3) and 1962(c). The Defendants and their co-conspirators

constitute an association-in-fact enterprise within the meaning of 18 U.S.C. §§ 1961(4) and

1962(c), referred to hereinafter as the “enterprise.” Each of the Defendants participated in the

operation or management of the enterprise.

        The Defendants have unlawfully, knowingly and willfully combined, conspired,

confederated and agreed together and with others to violate 18 U.S.C. § 1962(c) and 18 U.S.C. §

1503, as described above, in violation of 18 U.S.C. § 1962(d).

        As documented with particularity in this complaint, with the benefit of revelations from

sworn testimony, the Defendants knew that they were engaged in a conspiracy to commit the

predicate acts, and knew the predicate acts were part of such racketeering activity, and the


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participation and agreement of each of them was necessary to allow the commission of this

pattern of racketeering activity. This conduct constitutes a conspiracy to violate 18 U.S.C. §

1962(c), in violation of 18 U.S.C. § 1962(d).

       Even the limited testimony and pleadings filed by the Defendants thus far demonstrate

the existence of this conspiracy and their common understanding of the need to disseminate their

false narrative that they did not act in concert to conceal tweets regarding the Tassinari emails.

       As a direct and proximate result of the Defendants’ conspiracy, the acts of racketeering

activity of the enterprise, the overt acts taken in furtherance of that conspiracy, including but not

limited to using their “Twitter Partner” status, abusing the huge influence of the office of the

Massachusetts Secretary of State, the amplification provided by NASED, the communications

from Cohen and NASED to Twitter - which the conspirators know are not easily discoverable

public records and which Galvin, O’Malley and Tassinari chose to conceal from this court in

both their opposition and their affidavits in furtherance of their continuing effort to obstruct

justice, and other acts yet to be revealed by court-ordered discovery, Dr. Shiva has been

massively and irreparably damaged, and his injury includes, but is not limited to, being cheated

out of a free and fair election, global loss of reputation and goodwill, and severe emotional

distress due to the real fear that any mention of the Tassinari emails would lead to swift and

severe retribution from the enterprise, including consciously misleading press statements that

ricochet across the Internet and are prioritized by search engines.

       Given that Dr. Shiva’s family chose to live in the United States for the sake of liberty and

individual rights, and sacrificed greatly to rebuild their lives in a new country, and fully believed

that in this country freedom of speech would be protected by state officials, Dr. Shiva has been

severely shocked that Galvin, O’Malley, Tassinari, Cohen, and all the Elections Directors that



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comprise NASED, share the very same contempt for freedom of speech and the rights of the

individual as state officials back in the Socialist British Commonwealth of India.

       The Defendants have absolutely no regard for this great nation’s founding and defining

principles. The conclusion that such individuals exist in government has been extremely

disheartening and demoralizing.

       Further, these injuries to Dr. Shiva were a direct, proximate, reasonably foreseeable and

intentional result of the violations of 18 U.S.C. § 1962. Dr. Shiva is the ultimate victim of the

Defendants’ unlawful enterprise. Galvin obstructed justice, United States v. Dunnigan, 507 U.S.

87 (1993), and committed a crime which violated his oath and ‘laws applicable to his office or

position.’ State Retirement Board v. Bulger, 446 Mass. 169 (2006), In the Matter of Robert A.

Griffith, 440 Mass. 500 (2003) And AAG Adam Hornstine, a lawyer, fully knew that his

statements on the record at the hearing were materially false and “could not have been calculated

to assist the Court in the administration of justice, but only to win an advantage.” Tesco Corp. v.

Weatherford Int’l, Inc., No. H-08-2531, 2014 WL 4244215 (S.D. Tex. 2014)

       Under established case law, members of a conspiracy are substantively liable for the

foreseeable criminal conduct of the other members of the conspiracy. Pinkerton v. United States,

328 U.S. 640 (1946) The Defendants must be held liable for damages to Dr. Shiva with an initial

demand of $100 million, and a final amount to be determined by a jury at trial. Dr. Shiva also

requests that the court order all costs and fees and pre- and post-judgment interest from the

Defendants.

       Pursuant to 18 U.S.C. § 1964(c), Dr. Shiva is entitled to recover treble damages plus

costs and attorneys fees from the Defendants.




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                                            COUNT 5

                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       Dr. Shiva incorporates here by reference all the paragraphs above as if set forth herein.

       Due exclusively to the Defendants’ enterprise, Dr. Shiva was made to live in fear that his

speech regarding the official evidence contained in the Tassinari emails would inevitably and

swiftly lead to his silencing on social media, during his political campaign for U.S. Senate.

       This is per se intolerable in a country founded for the specific purpose of being the exact

opposite of Her Britannic Majesty’s United Kingdom in terms of protections for political speech,

and which on paper at least provides “special protection” for political speech on matters of great

public concern. “As the foregoing analysis confirms, the Court cannot resolve this case on a

narrower ground without chilling political speech, speech that is central to the meaning and

purpose of the First Amendment. See Morse v. Frederick,551 U. S. 393, 403 (2007).” Citizens

United v. Federal Election Commission, 558 U.S. 310 (2010) Accordingly, the Court has

frequently reaffirmed that speech on public issues occupies the "highest rung of the hierarchy of

First Amendment values,'" and is entitled to special protection. NAACP v. Claiborne Hardware

Co., 458 U. S. 886, 458 U. S. 913 (1982); Carey v. Brown, 447 U. S. 455, 447 U. S. 467

(1980).” Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749 (1985) “It is speech

on "matters of public concern'" that is "at the heart of the First Amendment's protection."” First

National Bank of Boston v. Bellotti, 435 U. S. 765, 435 U. S. 776 (1978), citing Thornhill v.

Alabama, 310 U. S. 88, 310 U. S. 101 (1940)

       That Dr. Shiva was not provided this special protection during his political campaign for

U.S. Senate may not be denied. In fact, the Defendants themselves do not deny it and initially

justified it on the basis of combating “election misinformation” even though they knew that, per


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the U.S. Constitution, political speech is allowed to be inaccurate or even deliberately false and

state actors are explicitly prohibited from suppressing it.

       This was extremely shocking to Dr. Shiva and has shaken him to his core. The rug has

been pulled out from under his feet. It is as if he is on the other side of the looking glass,

something he never anticipated, a stranger in a land that he no longer recognizes. Dr. Shiva finds

this experience extremely distressing and most unwelcome. The Defendants’ actions have gutted

his lifelong beliefs in the American system and is now dependent on this court for relief.

       To prevail on his claim for intentional infliction of emotional distress, Dr. Shiva must

establish "(1) that the Defendant intended to inflict emotional distress, or knew or should have

known that emotional distress was the likely result of his conduct, but also (2) that the

Defendant's conduct was extreme and outrageous, beyond all possible bounds of decency and

utterly intolerable in a civilized community, (3) the actions of the Defendant were the cause of

the plaintiff's distress, and (4) the emotional distress suffered by the plaintiff was severe and of

such a nature that no reasonable person could be expected to endure it." Payton v. Abbott Labs,

386 Mass. 540, 555 (1982), citing Agis v. Howard Johnson Co., 371 Mass. 140, 145 (1976)

       All four factors have already been pleaded with particularity in this complaint, with the

benefit of revelations from sworn testimony.

       The Defendants’ cold, heartless, intentional, infliction of extreme anguish on Dr. Shiva in

order to corruptly extort suppression of an official email that confirmed the violation of Federal

law, silence him totally on Twitter, and label him a fabulist and baseless conspiracy theorist, is

beyond the bounds of human decency. Commonwealth v. Adams, 416 Mass. 558 (1993)(‘the

officers, in the phrase of the day, `don't get it,' and they do not understand how unacceptably

they acted thereafter’). Dr. Shiva is entitled to substantial remedy from this court.



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        The Defendants must be held liable for damages to Dr. Shiva with an initial demand of

$100 million, and a final amount to be determined by a jury at trial. Dr. Shiva also requests that

the court order all costs and fees and pre- and post-judgment interest from the Defendants.

        Dr. Shiva requests such other and further relief as this court may deem just and proper.


                                            COUNT 6

  ISSUANCE OF A PERMANENT INJUNCTION ENJOINING SECRETARY GALVIN
  AND NASED FROM VIOLATING Dr. SHIVA’S OR ANYONE’S POLITICAL SPEECH

        Dr. Shiva incorporates here by reference all the paragraphs above as if set forth herein.

        Secretary William Francis Galvin has been sued in his official capacity in order to obtain

from Federal court a permanent injunction that enjoins him from suppressing political speech

and silencing a candidate wholesale during the candidate’s election campaign, be it for Federal,

state or local office. This is permissible under the exception carved out by the Court for

prospective injunctive relief under Ex parte Young, 209 U.S. 123 (1908) NASED is comprised

entirely of state actors.

        The court must weigh four factors when deciding whether to grant injunctive relief: (1)

The likelihood of success on the merits; (2) The potential for the movant to be irreparably

harmed by denial of the relief; (3) The balance of the movant’s hardship if relief is denied versus

the nonmovant’s hardship if relief is granted; and (4) The effect that granting relief will have on

the public interest. Phillip Morris, Inc. v. Harshbarger, 159 F.3d 670, 674 (1st Cir., 1998),

Monsanto v. Geertson, 561 U.S. 139 (2010), Trump v. Hawaii, 585 U.S. ___ (2018), Arborjet,

Inc. v. Rainbow Treecare, 794 F.3d 168 (1st Cir. 2015), Planned Parenthood League v. Bellotti,

641 F.2d 1006 (1st Cir. 1981) These factors are easily met in this action.




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1      Likelihood of success on the merits favors the Plaintiff

       The facts of this case demonstrate that the Plaintiff here has a great likelihood of success

on the merits because it is beyond dispute that Defendant Galvin, in collusion with NASED, in

order to maintain plausible deniability if discovered, violated an explicit prohibition on any

government official imposing content-based restrictions on speech. There are few cases where

the required result is as open and shut as enjoining a government official from continuing to

abuse his official power to censor speech and make a candidate’s voice disappear.

       “While some means of communication may be less effective than others at influencing
       the public in different contexts, any effort by the Judiciary to decide which means of
       communications are to be preferred for the particular type of message and speaker would
       raise questions as to the courts’ own lawful authority. Substantial questions would arise
       if courts were to begin saying what means of speech should be preferred or disfavored.
       And in all events, those differentiations might soon prove to be irrelevant or outdated by
       technologies that are in rapid flux. See Turner Broadcasting System, Inc. v. FCC, 512
       U.S. 622, 639 (1994). Courts, too, are bound by the First Amendment. We must decline
       to draw, and then redraw, constitutional lines based on the particular media or
       technology used to disseminate political speech from a particular speaker.” “The
       Government may not render a ban on political speech constitutional by carving out a
       limited exemption through an amorphous regulatory interpretation.” “First Amendment
       standards, however, “must give the benefit of any doubt to protecting rather than stifling
       speech.” WRTL, 551 U. S., at 469 (opinion of ROBERTS, C. J.) (citing New York Times
       Co. v. Sullivan, 376 U. S. 254, 269–270 (1964)).” “As the foregoing analysis confirms,
       the Court cannot resolve this case on a narrower ground without chilling political speech,
       speech that is central to the meaning and purpose of the First Amendment. See Morse v.
       Frederick, 551 U.S. 393, 403 (2007).”
       Citizens United v. Federal Election Commission, 558 U.S. 310 (2010)

       Here it is undisputed that Galvin and NASED together stifled the plaintiff political

candidate’s political speech during an election campaign based solely on the content of

plaintiff’s speech, which exposed irregularities in the way Galvin conducted and influenced the

counting of votes during the recent Republican primary elections, and exposed an official email

that confirmed that Galvin violated Federal law, a matter of great public concern. This was

unconstitutional per se. No court should require voluminous briefing on this point. Galvin has



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already agreed to desist from doing so until November 4, 2020. Count 6 seeks to make this a

permanent injunction upon both Galvin and NASED. A court order is necessary because these

Defendants have already proved their intrinsic contempt for the Constitution. External control is

mandatory.

       “It is speech on "matters of public concern'" that is "at the heart of the First

Amendment's protection." First National Bank of Boston v. Bellotti, 435 U. S. 765, 435 U. S.

776 (1978), citing Thornhill v. Alabama, 310 U. S. 88, 310 U. S. 101 (1940)

       The Plaintiff, the candidate who has been consciously and willfully harmed in a most un-

American fashion by both NASED, through abuse of its status of being the voice for fifty (50)

State Elections Directors, and Secretary Galvin, through abuse of his official status and powers,

is assured of succeeding on the merits of his claim. His claim also meets the required plausibility

standard. Ashcroft v. Iqbal, 556 U.S. 662 (2009), Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007), Iannacchino v. Ford Motor, 451 Mass. 623 (2008).



2      This political candidate has already been irreparably harmed

       Defendants Galvin and NASED had Dr. Shiva banned from Twitter for most of the last

month of campaigning left prior to Election Day 2020. This caused massive harm to a Write-In

candidate who needed as much public recognition as possible so voters could learn that he was

still a candidate whose name they would have to write in themselves if they chose. NASED and

Galvin, through their conscious defiant violation of bedrock American principles enshrined in

the Constitution via the First Amendment, deliberately caused immense harm to this candidate

by making him disappear from a platform that he had been dependent on for political outreach

and political speech. Galvin and NASED did this solely to block the candidate from exposing an



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official email that confirmed Dr. Shiva’s contention that Galvin violated Federal law by deleting

ballot images, which is as content-based as a restriction on speech by the government can get.

       "The First Amendment "was fashioned to assure unfettered interchange of ideas for the
       bringing about of political and social changes desired by the people." Roth v. United
       States, 354 U. S. 476, 354 U. S. 484 (1957); New York Times Co. v. Sullivan, 376 U. S.
       254, 376 U. S. 269 (1964). "[S]peech concerning public affairs is more than self-
       expression; it is the essence of self-government." Garrison v. Louisiana, 379 U. S. 64,
       379 U. S. 74-75 (1964). Accordingly, the Court has frequently reaffirmed that speech on
       public issues occupies the "highest rung of the hierarchy of First Amendment values,'"
       and is entitled to special protection. NAACP v. Claiborne Hardware Co., 458 U. S. 886,
       458 U. S. 913 (1982); Carey v. Brown, 447 U. S. 455, 447 U. S. 467 (1980).”
       Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749 (1985)

       “Entitled” means this court is duty-bound to immediately enjoin Galvin and NASED

from further willful violations of the Constitution including causing Dr. Shiva’s political speech

to be silenced on Twitter. Galvin and NASED have actively cheated Dr. Shiva out of a free and

fair election in 2020, and must be enjoined by this court from doing it again in the future, a

prospect that is very likely to recur. Already v. Nike, 568 U.S. 85 (2013).



3      Defendants Galvin and NASED faces no harm from an injunction

       Galvin faces no harm whatsoever from being required by this court to further refrain

from abusing his office to violate the candidate plaintiff’s free speech rights and to be enjoined

from stifling political speech on a matter of public concern. NASED faces no harm from being

required by this court to comply with the U.S. Constitution and refrain from using its clout to

help State Election Directors nationwide silence political speech. Again, no voluminous briefing

is required for this court to follow hornbook law. “Strong medicine is required to cure the

Defendant's disrespect for the law.” BMW of North America, Inc. v. Gore, 517 U.S. 559 (1996),

Zimmerman v. Direct Fed. Credit Union, 262 F.3d 70 (1st Cir. 2000) The injunction must issue.




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4       The requested injunction is in the public interest

        It is in the public interest to uphold the rule of law and require elected officials to stop

abusing their office to impose content-based restraints on political speech in the closing days of

an election campaign in order to actively sabotage a candidate’s prospects and throw the

election. It is in the public interest to comply with 100 years of Supreme Court rulings that

require courts to strongly support and protect First Amendment rights. Dun & Bradstreet, Inc.,

supra, Snyder v. Phelps, 562 U. S. 443 (2011)

        In summary, the permanent injunction must be issued.

                                              COUNT 7

    DECLARATORY INJUNCTION THAT MASSACHUSETTS DEFENDANTS MUST PAY
                     PRIVATELY FOR THEIR DEFENSE

        Dr. Shiva incorporates here by reference all the paragraphs above as if set forth herein.

        The Court has ruled that suit for monetary damages from state actors for violations of

Constitutional rights, an intentional tort, is permitted if they are sued in their individual

capacities and there is no demand on the public purse. Bivens v. Six Unknown Named Agents,

403 U.S. 388 (1971), Butz v. Economou, 438 U.S. 478 (1978), Davis v. Passman, 442 U.S. 228

(1979), Ziglar v. Abbasi, 582 U.S. ___ (2017)

        Naturally this also means that Massachusetts Defendants must pay privately for their

defense prospectively and the expense must not be dumped on the taxpayer. “The Legislature, by

excluding intentional torts from the waiver of governmental immunity, sought to insulate the

government from liability for intentional conduct which it had not authorized.” Doe v. Town of

Blandford, 402 Mass. 831 (1988), MGL ch. 258 § 10(c). While the Massachusetts Defendants

chose to violate Dr. Shiva’s First Amendment rights through abuse of office, and abuse of




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networks available only to state officials, such as the cooperation of NASED and “Twitter

Partner” status, this abuse was not authorized by the Commonwealth itself.

        Governments are prohibited from authorizing the violation of the U.S. Constitution and

other laws.

        This court must issue an Order that the Commonwealth must be insulated from all costs

of litigating the Defendants’ defense of the individual capacity claims in this complaint and that

the Massachusetts Defendants must retain private attorneys at their personal expense during the

course of this litigation.


                              JOINT AND SEVERAL LIABILITY

        Massachusetts Defendants are jointly and severally liable. O’Connor v. Raymark, 401

Mass. 586 (1986) Particularly in this case they are liable because they acted in concert and

caused harm at the same time in the same action.


                                         CONCLUSION

        Based on the facts and points of law within the four corners of this complaint, the court

must immediately grant the two preliminary injunctions and allow the remaining claims to be

considered by a jury after discovery.


        Respectfully submitted under the pains and penalties of perjury,
                                                     /s/ Dr. Shiva Ayyadurai
                                                     _____________________
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